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IN THE SUPERIOR COURT OF THE STATE OF ALASKA

FOURTH JUDICIAL DISTRICT AT BETHEL

JOHN DOE l,
Plaintiff,
VS.

THE JESUITS OF THE NEW ORLEANS CaSe NO. 4BE-07~0332 CI

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PROVINCE,
Defendant. -
NOTICE OF REMOVAL TO
UNITED STATES DISTRICT COURT
TO: Clerk of Court

Alaska Court System
Third Judicial District at Anchorage

AND TO: David Henderson

Law Office of David Henderson

M.PO-Box 2441

Bethel AK 99559

Please take notice that pursuant to the provisions of
28 U.S.C. § l446(d) the Notice of Removal, a copy of which is
attached hereto as Exhibit A, effecting the removal for all
purposes of the above~captioned action, Case No. 4BE-07-0332 CI,

to the United States District Court for the District of Alaska

from the Superior Court for the State of Alaska, Fourth Judicial

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Case 4:08-CV-00008-RRB Document 1-2 Filed 03/18/08 Page 1 of 2

 

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District at Bethel, which was filed by the defendant, The
Jesuits of the New Orleans Province,l on March 12, 2008.
DATED this __ day of March, 2008, at Anchorage,
Alaska.
RICHMOND & QUINN

Attorneys for The Jesuits of
rleans Province

  

m- - Dahiel T. Quinn
-ABA #8211141

CERTIFICATE OF SERVICE

 

This is to certify that on the

ay of March, 2008, a copy
of the foregoing document was
served by mail on:

~David Henderson

Law Offices of David Henderson
Box 2441

Bethel, AK 99559

 
    

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2290\001\PLD\STATE COURT '- NOTICE OF REMOVAL ‘I‘O USDC

 

1 The correct corporate name for defendant, The Jesuits of the

New Orleans Province, is The Catholic Society of Religious and
Literar Education. . _ .
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NOTICE OF REMOVAL TO
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John Doe l, v. The Jesuits of the New Orleans Province
Case No. 4BE~07-0332 CI

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